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                 EXHIBIT A
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         In re: McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation

                                Case No. 3:21-md-02996-CRB

Number              Municipality              Representative Name          Representative Title
  1.       City of Raleigh, North Carolina     Dorothy V. Kibler           Deputy City Attorney
  2.        Cannon Township, Michigan         Michael D. Grabhorn                Attorney
  3.        City of Muskegon, Michigan        Michael D. Grabhorn                Attorney
  4.       Breckinridge County, Kentucky      Michael D. Grabhorn                Attorney
  5.           Green County, Kentucky         Michael D. Grabhorn                Attorney
  6.           Hardin County, Kentucky        Michael D. Grabhorn                Attorney
  7.          Marion County, Kentucky         Michael D. Grabhorn                Attorney
  8.          Meade County, Kentucky          Michael D. Grabhorn                Attorney
  9.         Menifee County, Kentucky         Michael D. Grabhorn                Attorney
  10.         Nelson County, Kentucky         Michael D. Grabhorn                Attorney
  11.           Ohio County, Kentucky         Michael D. Grabhorn                Attorney
  12.      Washington County, Kentucky        Michael D. Grabhorn                Attorney
  13.         City of Ashland, Kentucky       Michael D. Grabhorn                Attorney
  14.       City of Bardstown, Kentucky       Michael D. Grabhorn                Attorney
  15.        City of Bellefonte, Kentucky     Michael D. Grabhorn                Attorney
  16.           City of Berea, Kentucky       Michael D. Grabhorn                Attorney
  17.     City of Bowling Green, Kentucky     Michael D. Grabhorn                Attorney
  18.      City of Catlettsburg, Kentucky     Michael D. Grabhorn                Attorney
  19.        City of Flatwoods, Kentucky      Michael D. Grabhorn                Attorney
  20.      City of Georgetown, Kentucky       Michael D. Grabhorn                Attorney
  21.         City of Glasgow, Kentucky       Michael D. Grabhorn                Attorney
  22.         City of Greenup, Kentucky       Michael D. Grabhorn                Attorney
  23.       City of Henderson, Kentucky       Michael D. Grabhorn                Attorney
  24.      City of Hopkinsville, Kentucky     Michael D. Grabhorn                Attorney
  25.          City of Jenkins, Kentucky      Michael D. Grabhorn                Attorney
  26.         City of Mayfield, Kentucky      Michael D. Grabhorn                Attorney
  27.     City of Mount Sterling, Kentucky    Michael D. Grabhorn                Attorney
  28.         City of Pikeville, Kentucky     Michael D. Grabhorn                Attorney
  29.         City of Pineville, Kentucky     Michael D. Grabhorn                Attorney
  30.          City of Russell, Kentucky      Michael D. Grabhorn                Attorney
  31.      City of South Shore, Kentucky      Michael D. Grabhorn                Attorney
  32.       City of Vanceburg, Kentucky       Michael D. Grabhorn                Attorney
  33.         City of Wickliffe, Kentucky     Michael D. Grabhorn                Attorney
  34.      City of Worthington, Kentucky      Michael D. Grabhorn                Attorney
  35.          Madison County, Illinois           Ann Callis           Attorney for Madison County,
                                                                                  Illinois
  36.        Nassau County, New York             Shayna E. Sacks                  Partner
  37.         Auburn City, New York              Shayna E. Sacks                  Partner
  38.          Buffalo City, New York            Shayna E. Sacks                  Partner
  39.       Chemung County, New York             Shayna E. Sacks                  Partner
  40.        Clinton County, New York            Shayna E. Sacks                  Partner
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41.        Cortland County, New York       Shayna E. Sacks             Partner
42.        Genesee County, New York        Shayna E. Sacks             Partner
43.        Madison County, New York        Shayna E. Sacks             Partner
44.      Mount Vernon City, New York       Shayna E. Sacks             Partner
45.         Orleans County, New York       Shayna E. Sacks             Partner
46.    Town of Poughkeepsie, New York      Shayna E. Sacks             Partner
47.     Westchester County, New York       Shayna E. Sacks             Partner
48.      Cattaraugus County, New York      Shayna E. Sacks             Partner
49.        City of Lancaster, New York     Shayna E. Sacks             Partner
50.        City of Rochester, New York     Shayna E. Sacks             Partner
51.      City of Tonawanda, New York       Shayna E. Sacks             Partner
52.      County of Saratoga, New York      Shayna E. Sacks             Partner
53.          Essex County, New York        Shayna E. Sacks             Partner
54.       Schoharie County, New York       Shayna E. Sacks             Partner
55.        Schuyler County, New York       Shayna E. Sacks             Partner
56.       Tompkins County, New York        Shayna E. Sacks             Partner
57.       Town of Amherst, New York        Shayna E. Sacks             Partner
58.      Chautauqua County, New York       Shayna E. Sacks             Partner
59.       Chenango County, New York        Shayna E. Sacks             Partner
60.        Hamilton County, New York       Shayna E. Sacks             Partner
61.            Ithaca City, New York       Shayna E. Sacks             Partner
62.       Livingston County, New York      Shayna E. Sacks             Partner
63.         Niagara County, New York       Shayna E. Sacks             Partner
64.       Poughkeepsie City, New York      Shayna E. Sacks             Partner
65.       Renssalaer County, New York      Shayna E. Sacks             Partner
66.        Saratoga Springs, New York      Shayna E. Sacks             Partner
67.        Steuben County, New York        Shayna E. Sacks             Partner
68.        Allegany County, New York       Shayna E. Sacks             Partner
69.         Cayuga County, New York        Shayna E. Sacks             Partner
70.     Cheektowaga County, New York       Shayna E. Sacks             Partner
71.      City of Amsterdam, New York       Shayna E. Sacks             Partner
72.      City of Ogdensburg, New York      Shayna E. Sacks             Partner
73.         Franklin County, New York      Shayna E. Sacks             Partner
74.         Otsego County, New York        Shayna E. Sacks             Partner
75.         Putnam County, New York        Shayna E. Sacks             Partner
76.          Tioga County, New York        Shayna E. Sacks             Partner
77.         Warren County, New York        Shayna E. Sacks             Partner
78.          Yates County, New York        Shayna E. Sacks             Partner
79.           St. Clair County, Illinois     David Cates     Attorney for St. Clair County,
                                                                        Illinois
